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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

                             *********************


United States of America,                   Criminal No. 22-cr-40 (JRT/LIB)

       Plaintiff,

v.                                          NOTICE OF ARRAIGNMENT

Harshkumar Ramanlal Patel (1),

       Defendant.

                             *********************

       A Superseding Indictment was returned on March 21, 2024, regarding the above matter.

       The Arraignment of the above-named Defendant is set for Wednesday, March 27, 2024,

at 11:00 a.m. before Magistrate Judge Leo I. Brisbois via video conference using the Zoom

platform. Connection information will be email to the parties.



DATED: March 22, 2024                               s/Leo I. Brisbois
                                                    Hon. Leo I. Brisbois
                                                    U.S. MAGISTRATE JUDGE
